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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA
                             NORTHWESTERN DIVISION

United States of America,            )
                                     )
              Plaintiff,             )       ORDER GRANTING
                                     )       REQUEST FOR TRAVEL
       vs.                           )
                                     )
Ricardo Augustus Bryan,              )       Case No.: 4:12-cr-175
                                     )
              Defendant.             )
                                     )


       Before the court is a “Request for Out of State Travel” filed by defendant Ricardo Augustus

Bryan on November 3, 2014. Defendant requests permission to travel to his cousin’s wedding

celebration in Paterson, New Jersey from November 7, 2014 through November 11, 2014. The

government does not oppose defendant’s request.

       The court GRANTS defendant’s motion (Docket No. 510) and ORDERS that defendant

may travel as requested.

       Dated this 3rd day of November, 2014.

                                             /s/ Charles S. Miller, Jr.
                                             Charles S. Miller, Jr., Magistrate Judge
                                             United States District Court
